Case 4:22-cv-00561-RCC Document 71-4 Filed 06/21/24 Page 1 of 14




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Case 4:22-cv-00561-RCC Document 71-4 Filed 06/21/24 Page 2 of 14
Case 4:22-cv-00561-RCC Document 71-4 Filed 06/21/24 Page 3 of 14
Case 4:22-cv-00561-RCC Document 71-4 Filed 06/21/24 Page 4 of 14
Case 4:22-cv-00561-RCC Document 71-4 Filed 06/21/24 Page 5 of 14
Case 4:22-cv-00561-RCC Document 71-4 Filed 06/21/24 Page 6 of 14
Case 4:22-cv-00561-RCC Document 71-4 Filed 06/21/24 Page 7 of 14
Case 4:22-cv-00561-RCC Document 71-4 Filed 06/21/24 Page 8 of 14
Case 4:22-cv-00561-RCC Document 71-4 Filed 06/21/24 Page 9 of 14
Case 4:22-cv-00561-RCC Document 71-4 Filed 06/21/24 Page 10 of 14
Case 4:22-cv-00561-RCC Document 71-4 Filed 06/21/24 Page 11 of 14
Case 4:22-cv-00561-RCC Document 71-4 Filed 06/21/24 Page 12 of 14
Case 4:22-cv-00561-RCC Document 71-4 Filed 06/21/24 Page 13 of 14
Case 4:22-cv-00561-RCC Document 71-4 Filed 06/21/24 Page 14 of 14
